Case 2:16-cv-06576-KM-MAH Document 266-22 Filed 10/10/22 Page 1 of 2 PageID: 11927




            Exhibit 22
                                  Case 2:16-cv-06576-KM-MAH Document 266-22 Filed 10/10/22 Page 2 of 2 PageID: 11928
                                                                                                                                                                    EXHIBIT
                                                                                                                                                            is




                     aangol=com                                                                 AUG     JAN
                                                                                                                                                            i        23
  ,as,,   ..me




I BimellMIN      2

                                                              I   I     I   L   IMII   11   i
                                                                                                2015    2018




                                                          6                 L          ti fo                   d
                                                              Home                     About us         Products   Blog             Delivery Schedule   I




                                                                      dlF
                                                                                                                          VfEWALL    .




                                                                                                                          WHATS NEW                                           NOW
                                                                                                                          THIS WEEK




                                                                                                                                                                f     Sa chichon



                                                                                                                                                                              NW
                                                                                                                          BEST DEAL                                       B


                                                                                                                          IN   THIS WEEK




                                                                                                                                                                      Cafe Juan
                                                                                                                                                                      Valdez Cumbre
                                                         CAFE JUAN VALDEZ                                                                                             oeoar<.

                                                         ORGANIC$                                                                                                     "i-
                                                                                                47:92                     ==
                                                                                                                           PRoDucTs


                                                                                            Juan       ex
